 

Case: 1:15-cv-00938 Document #: 1 Filed: 01/28/15 Page 1 of 7 PagelD #:1 SNM

 

 

 

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UNITED STATES DISTRICT COURT AN 2 8 2015
NORTHERN DISTRICT OF ILLINOIS OMAS G
EASTERN DIVISION CLERK US, OTRO Bo .
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tdi §
(Enter above the full name 15¢938
of the plaintiff or plaintiffs in Judge Amy J. St. Eve
this action) Magistrate Judge Young B. Kim
PC 3
vs. Case ..2.

(To be supplied by the Clerk of this Court)
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Unversity GE tienes af CG hycas ¢ Hesyrte. 7
Michael K Otz.; Aann Miiaesice Ss,
Chttenteard; Zachary Peaber }
Efi2 qG heft Sormone,

7
Matthew fietorn

(Enter above the full name of ALL
defendants in this action. Do not

use "et al.")

CHECK ONE ONLY:

 

COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.
Case: 1:15-cv-00938 Document #: 1 Filed: 01/28/15 Page 2 of 7 PagelD #:2

Plaintiff(s):

A. Name: Chr 15 tyehec Donna YELL Lee 8

B. _List all aliases: _ Ae _

C. Prisoner identification number: _ 20/YW{ O20 £307

D. Place of present confinement: CLtok Count. Ta, / |
B. Address 200 5. Calternea Chick egg Zt GlOOT

_ (If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a
separate sheet of paper.)
Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)
A. Defendant: _U/yverss ty OP Than sal Chilago Fe lie Ovet

Title: Zz, Lee CE LDepache Aee2 f

Place of Employment: U/L¢ LoS 5 ahi fi stefe € OL LNG 5
B. Defendant: Univers: hy OF Tihnes at Chicago Hosadaf

Title: / / 6 Sptal

Place of Employment: TL) Lh i015
C. Defendant: My Cha el Kote

Title: VEC Police ofGvec

Place of Employment: Uni 'vei i Sity ef Zi) inees ak Chic 4 6 Hese, fel

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

2 Revised 9/2007
IL, Contin wec: LDeakorapebarpnt #: 1 Filed: 01/28/15 Page 3 of 7 PagelD #:3

D, Dehendant: Aaron Murauskas

Title: VEC Police ofPieec
Place of Empleymear: university of Ditine's et Chicagd tlosatal

 

E. De Lendant; Chftan Heard
Title: VEC Police OLLycer

Place of Emplyment/ University oF Hiivaas at Chicagd Nos, 4a |

F Defendant: Zachary Ppante K

THe: ULE Police ofLNeer

Place oF Employmert ! University of Lilinors at Chcego Hosorta |
&. Defendant: Eliza beth Somone

Title: Edtergency Medital fechnit.an

Place oF Emplogmiat : UAVers fy OF Lllinns at Chitego Hes ta /

 

H. Defendant: Matthew Vietaen

TitIQ! Regishered Nurse

 

 

Place of Employment: University JE Dinas af Chicago Hesy, fe /

 

 
Case: 1:15-cv-00938 Document #: 1 Filed: 01/28/15 Page 4 of 7 PagelD #:4

List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

A. Name of case and docket number: Che stapler Den anuell / ei S/S. 4 PI hy: ,
De Pactmert OF Comechens ef af. 19 CV leag¢ TY

Approximate date of filing lawsuit: De € 15, 201 Y

List all plaintiffs (if you had co-plaintiffs), including any aliases:
Chastupler Deonyei) (emi

 

 

Ligh all defendants: ellos Deaittnent Oe hy rec heels
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Court in n which the lawsuit was filed (if federal court, name the district; if state court,
name the county): MO@THEy a Drstéter oF EC LHL S

Name of judge to whom case was assigned: Vir Gini pM, K gad al }

Basic claim made:__ WAS Not Given NI “YAP Beeathny
trachne jhiid tn Cu stake! OF TE. ae

 

 

 

Disposition of this case (for example: Was the case dismissed? Was it appealed?

Is it still pending?): > act
#OIn@
)

 

 

Approximate date of disposition: f J be

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

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Case: 1:15-cv-00938 Document #: 1 Filed: 01/28/15 Page 5 of 7 PagelD #:5

IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved. including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
cach claim in a separate paragraph. (Use as much Space as you need. Attach extra sheets
if necessary.)

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4 Revised 9/2007
 

Case: 1:15-cv-00938 Document #: 1 Filed: 01/28/15 Page 6 of 7 PagelD #:6

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Case: 1:15-cv-00938 Document #: 1 Filed: 01/28/15 Page 7 of 7 PagelD #:7

V. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

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cy Ste 6S,

 

 

 

VI. ‘The plaintiff demands that the case be tried by a jury. O YES v4 NO

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. I understand that if this certification is not correct, I may be
subject to sanctions by the Court.

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ty / . 4

(Signature of plaintiff or plaintiffs) _

C hustler D. Ler

(Print name)

QOL O20 V307

(I.D. Number)

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(Address)

 

 

6 Revised 9/2007

 
